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                            UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION
In re:
                                                             Case No. 09-34791-BKC-RBR
ROTHSTEIN ROSENFELDT ADLER, P.A.,
                                                             Chapter 11
            Debtor.
______________________________________/

         IRA SOCHET INTER VIVOS REVOCABLE TRUST AND INVESTORS RISK
                        ADVANTAGE’S RESPONSE TO THE
           TRUSTEE’S EIGHTH OMNIBUS OBJECTION TO CLAIMS [ECF 3597]

          Creditors, the Ira Sochet Inter Vivos Revocable Trust (the “Sochet Trust”) and Investors
Risk Advantage, LP, (collectively the “Sochet Entities”) hereby file their response to the
Trustee’s Eighth Omnibus Objection to Claims (the “Objection”) [ECF 3597] and in support
thereof state as follows:

    1. On November 20, 2012, the Trustee filed the Objection seeking, inter alia, the
disallowance and striking of Claim Number 356.
    2. Claim Number 356 was the initial claim filed by the Ira Sochet Inter Vivos Revocable
Trust.
    3. This claim was subsequently amended and allowed in its entirety by virtue of the Order
Granting Motion of Chapter 11 Trustee Herbert Stettin Pursuant to Fed. R. Bankr. P. 9019 to
Approve Settlement and Compromise with (i) Adversary Case Defendants Investors Risk
Advantage, Sochet & Company and the Ira Sochet Inter Vivos Trust; and (ii) Ira Sochet dated
November 29, 2011 [ECF 2416] (the “Sochet Settlement Order”).
    4. Paragraph 4 of the Sochet Settlement Order states that the Sochet Related Entities (as that
term is defined in the Sochet Settlement Order and which includes the Sochet Entities) “shall be
deemed to hold an allowed general unsecured claim in the Bankruptcy Case…consisting of (1)
Claim No. 145-2 previously filed by the Sochet Trust on April 5, 2011…”
    5. Footnote 1 to paragraph 4 explains that “claim number 145-2 is reflected as Claim No.
356-2 in the claims register maintained by Trustee Services, Inc.” The Trustee used the claim
numbers from the Trustee Services, Inc. registry in his Objection.




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   6. To the extent that claim number 356 was amended by 356-2 and to the extent that 356-2
was subsequently allowed in its entirety as a general unsecured claim pursuant to the Sochet
Settlement Order, the Sochet Entities have no objection to claim number 356 being stricken and
disallowed.

       WHEREFORE, the Sochet Entities, having responded to the Objection, do not object to
the entry of an order disallowing and striking claim number 356 to the extent that this claim has
been amended by claim number 356-2 which was subsequently allowed pursuant to the Sochet
Settlement Order and for such other and further relief as this Court deems just and proper.


                                  CERTIFICATE OF SERVICE
               I HEREBY CERTIFY that I am admitted to the Bar of the United States District
Court for the Southern District of Florida and I am in compliance with the additional
qualifications to practice in this Court set forth in Local Rule 2090-1(A).

       I CERTIFY that a true copy of this response was served via electronic transmission on all
CM/ECF registered users and counsel requesting service on December 12, 2012.

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